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UNITED STATES COURT OF APPEALS*ECEIVED

FOR THE FOURTH CIRCUIT 722 AUG -8 PH 3:31

U.S. COURT OF APPEALS
FOURTH CIRCUIT

DOMINIC BIANCHI, et al., *
Plaintiffs-Appellants *
vs * Civil No: 21-1255
BRIAN E. FROSH, et al., *

Defendants-Appellees **

Motion to Register as an ECF filer
John Cutonilli files this motion to file electronically using the Fourth Circuit
ECF system in accordance with Federal Rules of Appellate Procedures
25(a)(2)(B)(1i) and Local Rule 25(a)(1). Cutonilli is an unrepresented person and
the rule requires a motion to be filed in this court order in order to file
electronically. Cutonilli wishes to file an amicus brief for the Bianchi v Frosh
(Case 21-1255) using the ECF system to better facilitate service for the court and

all parties involved.

Cutonilli has reviewed the Fourth Circuit ECF Information Page and

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understands the rules of e-filing. Cutonilli has access to a computer and the internet
in order to e-file. Cutonilli understands approval to e-filing requires Cutonilli to
register with PACER for a CM/ECF account with the Fourth Circuit, and that
Cutonilli consents to electronic service at the email address registered to the
appellant’s Fourth Circuit PACER account. Cutonilli understands consent to e-
service requires that service of filings via US mail will be discontinued. Cutonilli
understands if this motion is granted, the e-filing privilege only applies to this case
while it is pending and that abuse of the e-filing privileges may result in revocation

of the right to e-file.

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Neither party has objected to Cutonilli filing an amicus brief in this case.

Respectfully submitted,

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/s/ John Cutonilli
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5 August 2022

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CORPORATE DISCLOSURE STATEMENT

Pursuant to Federal Rule of Appellate Procedure 26.1, amicus John Cutonilli
certifies that the amicus is not a publicly held corporation, that the amicus does not
have a parent corporation, and that no publicly held corporation owns 10 percent or
more of amicus’s stock.

Dated: 5 August 2022

 

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CERTIFICATE OF COMPLIANCE
I certify that:
i. This document complies with the type-volume limitation of Fed. R. App. P.
27(d)(2)(A) excluding the parts of the document exempted by Fed. R. App. P.

32(f), because, this document contains 216 words, as determined by Microsoft

Office Word software.

2. This document complies with the typeface requirement of Fed. R. App. P.
32(a)(5) and the type-style requirements of Fed. R. App. P. 32(a)(6) because
this document has been prepared in a proportionally spaced typeface using

Microsoft Office Word in Times New Roman (14-point).

Dated: 5 August 2022

 

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/si)John Cutonilli

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CERTIFICATE OF SERVICE

[ hereby certify that on 5 August 2022, I emailed a copy of this document
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